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FILED
IN THE UNITED STATES DISTRICT COURT SEP 2 0 2023
FOR THE NORTHERN DISTRICT OF OHIO CLERK. US. DISTaIGT COURT
EASTERN DIVISION CLEVELAND
UNITED STATES OF AMERICA, )} INDICTMENT
)
Plaintiff, } e
» 7:23 CR 00535
v. } CASE NO.
} Title 18, United States Code,
DANIEL KOVACIC, ) Sections 922(g)(1) and 924(a)(8)
)
Defendant. )

cor,  SUDGE BOYKO

(Felon in Possession of a Firearm, 18 U.S.C, §§ 922(g)(1) and 924(a)(8))

The Grand Jury charges:

1. On or about August 17, 2023, in the Northern District of Ohio, Eastern Division,
Defendant DANIEL KOVACIC, knowing he had previously been convicted of crimes
punishable by imprisonment for a term exceeding one year, those being: Felonious Assault, a
felony of the second degree, on or about May 24, 2010, in Case Number 09-CR-819, in the Lake
County Court of Common Pleas; and Assault on a Peace Officer, a felony of the fourth degree,
on or about February 4, 2010, in Case Number'09-CR-546, in the Lake County Court of
Common Pleas, knowingly possessed in and affecting interstate commerce a firearm, to wit: a
Sig Sauer, Model P238, .380 caliber pistol bearing serial number 27B206165 and ammunition,
said firearm and ammunition having been shipped and transported in interstate commerce, in

violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).
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FORFEITURE

The Grand Jury further charges:

2. For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 924(d)(1), and Title 28, United States Code, Section 2461(c), the allegation of Count 1 is
incorporated herein by reference. As a result of the foregoing offense, Defendant DANIEL
KOVACIC shall forfeit to the United States any and all firearms and ammunition involved in or
used in the commission of the federal firearm violation.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,
